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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEBRASKA


SANDRA FRANKLIN,

         Plaintiffs,                               CASE NO: 8:20-CV-0038

vs.

M.N.G., INC.,

      Defendant.
__________________________________/

                       MOTION TO ENFORCE SETTLEMENT AGREEMENT

         COMES NOW Plaintiff, SANDRA FRANKLIN (“Plaintiff”) by and through the

undersigned counsel, and hereby moves this honorable Court for an order enforcing the

terms of the settlement agreement entered into between the parties, and in support thereof

states as follows:

         1.     This is a claim brought pursuant to Title III of the Americans with

Disabilities Act seeking removal of architectural barriers to wheelchair users such as

Plaintiff, primarily with regard to parking and the route to enter the subject convenience

store.

         2.     Plaintiff engaged an accessibility consultant to inspect the property and the

parties, with input from Plaintiff's expert, reached a collaborative resolution of the

substantive issues.

         3.     The parties executed a confidential settlement and release agreement, which


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shall be submitted for in camera inspection simultaneously herewith, via email to

chambers.

       4.     Plaintiff does not dispute that Defendant has removed the architectural

barriers about which she had complained in accordance with their negotiations as

reflected in the settlement and release agreement.

       5.     However, the settlement and release agreement, in paragraph 4(A), required

certain payments to be made to undersigned counsel to defray a portion of the time and

expense incurred in prosecuting this matter on Plaintiff's behalf, none of which have been

received.

       6.     As a result of the COVID-19 pandemic, undersigned counsel agreed to

modify the payment schedule by reducing the amount of payments and increasing the

term of payments, upon request of Defendant, hence the handwritten revisions and initials

confirming acceptance of such revised terms.

       7.     Despite such renegotiation in light of the pandemic, no payments have been

received to date.

       8.     The terms of the agreement further indicate, in paragraph 4(B), that a

stipulation of dismissal is not due to be filed until execution of the settlement agreement

and receipt of the agreed payments.

       9.     This court has original jurisdiction to resolve the claims brought in this suit

and which were resolved by the settlement agreement of the parties during the pendency

of this suit, pursuant to 28 U.S.C §§ 1331 and 1343.

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       10.    Despite being courts of limited jurisdiction, federal district courts have

inherent powers to summarily enforce settlement agreements between the parties in cases

pending before them. See, Román-Oliveras v. Puerto Rico Elec. Power Auth. (PREPA),

797 F.3d 83, 86–87 (1st Cir. 2015) (district court indisputably had the power to enforce a

settlement before the case had been dismissed); Hensley v. Alcon Labs., Inc., 277 F.3d

535, 540 (4th Cir. 2002)( district courts have inherent authority, deriving from their

equity power, to enforce settlement agreements); Dacanay v. Mendoza, 573 F.2d 1075,

1078 (9th Cir. 1978)( courts have inherent power summarily to enforce a settlement

agreement with respect to an action pending before it; the actual merits of the controversy

become inconsequential).

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests entry of an order

compelling Defendant to abide by the terms of the settlement agreement in this matter

and entry of a final judgment in accordance therewith.

       Dated this 5th day of June, 2020.

                                           Respectfully submitted,

                                            s/ Edward I. Zwilling
                                           Edward I. Zwilling, Esq.
                                           Ala. Bar No. ASB-1564-L54E
                                           Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this the 5th day of June, 2020, a true and correct
copy of the foregoing has been emailed to the following:

      Scott P. Moore
      Baird Holm LLP
      1700 Farnam Street
      Suite 1500
      Omaha, NE 68102
      Telephone: 402-344-0500
      Email: spmoore@bairdholm.com

                                               s/ Edward I. Zwilling
                                               OF COUNSEL




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